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IN THE UNITED STATES DISTRICT COURT 1" ERDIST-OF Tx
FOR THE NORTHERN DISTRICT OF TEXAS
DALLAS DIVISION 2021 AUG 11 PM 2: &|

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UNITED STATES OF AMERICA CRIMINAL NO. verury cucnx_ 0
Vv. 3-21CR0366-5

Yaroslav Vasinskyi (01) FILED UNDER SEAL
a/k/a Profcomserv
a/k/a Rabotnik
a/k/a Rabotnik_ New
a/k/a Yarik45
a/k/a Yaroslav2468
a/k/a Affiliate 22

INDICTMENT

The Grand Jury charges:

At all times material to this indictment:

General Allegations
1. “Malware” was a malicious software program designed to disrupt computer
operations, gather sensitive information, gain access to private computer systems, and
perform other unauthorized actions on computer systems. Common examples of
malware included viruses, ransomware, worms, keyloggers, and spyware.
es “Ransomware” was a type of malware that infected a computer and
encrypted some or all of the data on the computer. Distributors of ransomware typically

extorted the user of the encrypted computer by demanding that the user pay a ransom in

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order to decrypt and recover the data on the computer.

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3. “Sodinokibi” was a form of ransomware that encrypted victim computers.
Sodinokibi was given other names, such as REvil. Distributors of Sodinokibi
ransomware were also known as “affiliates.”

4. “Bitcoin” was a type of virtual currency, circulated over the Internet as a
form of value. Bitcoin were not issued by any government, bank, or company, but were
generated and controlled through computer software operating via a decentralized, peer-
to-peer network. To acquire Bitcoin, a user typically purchased Bitcoin from a Bitcoin
seller or “exchanger.”

5. “Bitcoin addresses” were particular locations to which Bitcoin were sent
and received. A Bitcoin address was analogous to a bank account number and was
represented as a 26-to-35 character-long case-sensitive string of letters and numbers.
Each Bitcoin address was controlled through the use of a unique corresponding private
key which was a cryptographic equivalent of a password and was needed to access the
Bitcoin address. Only the holder of a Bitcoin address’s private key could authorize a
transfer of Bitcoin from that address to another Bitcoin address. Little to no personally
identifiable information about a Bitcoin account holder was transmitted during a Bitcoin
transaction.

6. A “command and control server” was a centralized computer that issued
commands to remotely connected computers. “Command and Control” (“C2”)
infrastructure consisted of servers and other technical infrastructure that issued

commands to control malware.

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7. Computer programs, including malware, were written in computer
programing languages which included “Ruby,” “C,” and “C++.”

8. “Encryption” was the translation of data into a secret code. In order to
access encrypted data, a user must have accessed a password, commonly referred to as a
“decryption key” or “decryptor” that enabled the user to decrypt the data.

9. A “Gitlab server” was a server that can be used to create and manage
software and coding projects.

10. | “Monero” was a type of virtual currency, circulated over the Internet as a
form of value. Monero was not issued by any government, bank, or company. To
acquire Monero, a user typically purchased Monero from a virtual currency “exchanger.”
Monero transaction details were anonymous. Therefore, the final destination address
could not be traced and the receiving participant could not be identified from the Monero
transaction details alone.

11. “Phishing” was a process where specially-crafted emails were distributed to
recipients with a purpose of collecting the recipients’ credentials and delivering malware.

12. Remote desktop tools were computer programs that provided a user with a
graphical user interface to connect to another computer over a network connection.

13. “Security vulnerabilities” were unintended flaws in software code or an
operating system that left a computer open to exploitation in the form of unauthorized
access and malicious behavior (e.g., the deployment of malware).

14. Tor was a computer network designed to facilitate anonymous

communication over the Internet. The Tor network did this by routing a user’s

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communications through a globally-distributed network of relay computers in a manner
that rendered ineffective any conventional Internet Protocol (“IP”) based methods of
identifying users. The Tor network also enabled users to operate hidden sites that
operated similarly to conventional websites.

15. A virtual private server (“VPS”) was a virtual machine sold as a server by
an internet hosting service that allows individuals to lease space on a server as their own.

16. Entity A was an entity located in Braintree, Massachusetts.

17. | Company B was a business located in Miami, Florida.

18. | Company C was a business located in Yonkers, New York.

19. Company D was a financial institution located in Dallas, Texas which was
located in the Northern District of Texas.

20. | Company E was a business located in located in Addison, Texas which was
located in the Northern District of Texas.

21. Company F was a business located in Dallas, Texas which was located in
the Eastern District of Texas.

22. Company G was a business located in Stamford, Connecticut.

23. | Company H was a business located in La Plata, Maryland.

24. | Company I was a business located in Fairfield, New Jersey.

25. | Company J was a business located in Tempe, Arizona.

26. Defendant Yaroslav Vasinskyi was a citizen of Ukraine. Vasinskyi used
various online monikers including, Profcomserv, Rabotnik, Rabotnik_ New, Yarik45,

Yaroslav2468, and Affiliate 22.

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Count One
Conspiracy to Commit Fraud and Related Activity in Connection with Computers
[Violation of 18 U.S.C. § 371 (18 U.S.C. §§ 1030(a)(5)(A) and 1030(a)(7)(C)]

27. Paragraphs | through 26 of this indictment are re-alleged and incorporated
by reference as though fully set forth herein.

28. From on or about March 1, 2019, through on or about August 11, 2021, in
the Northern District of Texas and elsewhere, defendant Yaroslav Vasinskyi did
knowingly and willfully combine, conspire, confederate, and agree with others known
and unknown to the Grand Jury, to commit an offense against the United States, that is:

a. to knowingly cause the transmission of a program, information, code, and

command and as a result of such conduct, intentionally cause damage without

authorization to a protected computer, and cause loss to persons during a 1-year

period from the defendant’s course of conduct affecting protected computers

aggregating at least $5,000 in value, and cause damage affecting 10 or more

protected computers during a l-year period, in violation of 18 U.S.C.

§§ 1030(a)(5)(A) and 1030(c)(4)(B); and

b. to knowingly and with intent to extort from any person any money and

other thing of value, transmit in interstate and foreign commerce any

communication containing a demand and request for money and other thing of

value in relation to damage to a protected computer, where such damage was

caused to facilitate the extortion, in violation of 18 U.S.C. §§ 1030(a)(7)(C) and

1030(c)(3)(A).

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Purpose of the Conspiracy

29. It was the purpose of the conspiracy for defendant Yaroslav Vasinskyi and
other conspirators to unlawfully enrich himself and others by: (a) authoring Sodinokibi
ransomware that would, when executed, encrypt data on victims’ computers; (b)
conducting reconnaissance and research in order to target potential victims; (c) accessing
victims’ computers without authorization through phishing, remote desktop exploitation,
and security vulnerabilities; (d) installing and executing Sodinokibi ransomware on
victims’ computers, resulting in the encryption of data on the computers; (e) extorting
victims by demanding a ransom paid in Bitcoin and Monero in exchange for decryption
keys to decrypt the data; and (f) collecting ransom payments from victims who paid the
ransom.

Manner and Means of the Conspiracy

30. |The manner and means by which defendant Yaroslav Vasinskyi and other
conspirators sought to accomplish the purpose of the conspiracy included, among other
things:

a. Conspirators authored Sodinokibi ransomware, which was designed to

encrypt data on victims’ computers. Conspirators deployed the first operational

version of Sodinokibi ransomware in or about April 2019. Since then,
conspirators regularly have updated Sodinokibi ransomware and refined the
manner in which Sodinokibi attacks are conducted.

b. Conspirators infected victims’ computers in various ways, including by

deploying phishing emails to collect the recipients’ credentials and to deliver

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malware, by using compromised remote desktop credentials, and by exploiting
security vulnerabilities in software code and operating systems. Once conspirators
accessed victims’ computers, conspirators sought to obtain persistent remote
access to the compromised networks.

C: Through this persistent remote access, the conspirators then used malware,
including types named Cobalt Strike, Metasploit, and Mimikatz, to gain further
access and control of other computers in the victims’ networks in order to elevate
access to administrator privileges on the victims’ networks.

d. After gaining sufficient privileges and access to the computers in the
victims’ networks, the conspirators located backups and attempted to delete and
encrypt the backups. Thereafter, the conspirators deployed Sodinokibi
ransomware on the victims’ networks. Beginning in or about January 2020,
conspirators began exfiltrating the victims’ data prior to deploying the Sodinokibi
ransomware. Once exfiltrated, the conspirators posted portions of the data on a
blog to (1) prove they had taken the victims’ data, and (2) to threaten publication
of all the victims’ data if the ransom was not paid.

e, Through deployment of the Sodinokibi ransomware by the conspirators, the
files on the victims’ computers were encrypted. Further, through the deployment
of Sodinokibi ransomware, the conspirators left an electronic note in the form of a
text file on the victims’ computers. The note included a Tor website address and
an unencrypted website address for the victims to visit in order to have the

victims’ files decrypted.

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f. Upon going to either the Tor website or the unencrypted website, victims

were given the ransom amount demanded and provided a virtual currency address

to use to pay the ransom. The websites also had a countdown timer denoting the

time by which the ransom had to be paid before the ransom amount increased.

The websites included a chat feature through which the victims could

communicate with Sodinokibi conspirators.

g. At times, during the course of communications, the conspirators negotiated

the ransom amount with the victims and the victims’ representatives. Further, at

times the conspirators decrypted a file to prove that the decryption key worked.

h. In the event a victim paid the ransom amount, the conspirators provided the

decryption key to the victims, and the victims then were able to access their files.

In the event a victim did not pay the ransom, the conspirators typically posted the

victims’ exfiltrated data or claimed that they sold the exfiltrated data to third

parties.

Overt Acts

31. In furtherance of the conspiracy and to affect its unlawful objects,
defendant Yaroslav Vasinskyi and other conspirators committed and caused to be
committed the following overt acts in the Northern District of Texas and elsewhere:

a. On or about May 21, 2019, defendant Yaroslav Vasinskyi and other

conspirators accessed the internal computer networks of Entity A without

authorization.

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b. On or about May 21, 2019, defendant Yaroslav Vasinskyi and other
conspirators deployed Sodinokibi ransomware on Entity A’s computers thereby
encrypting Entity A’s computers.

Cc. On or about May 21, 2019, defendant Yaroslav Vasinskyi and other
conspirators transmitted in interstate and foreign commerce a ransom demand in
relation to encrypting Entity A’s computers demanding approximately $499,800 in

exchange for a decryption key to decrypt the data.

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d. On or about July 4, 2019, a conspirator using the moniker “Unknown”
posted an advertisement soliciting individuals to interview to become affiliates for
the distribution of Sodinokibi ransomware. In pertinent part, the Russian-language
advertisement stated (translated) that it was “private ransomware written in C,”
and that the affiliate would initially receive 60%, and then 70% after three ransom
payments.

é. On or about December 14, 2019, defendant Yaroslav Vasinskyi sent a
message on a criminal forum to “Unknown.” Vasinkskyi wrote in Russian
(translated), “Hello, this is rabotnik. I want to return to work .”

f. On or about July 2, 2021, defendant Yaroslav Vasinskyi and other
conspirators accessed the internal computer networks of Company B without
authorization and caused damage.

g. On or about July 2, 2021, defendant Yaroslav Vasinskyi and other

conspirators accessed the internal computer networks of Company C without

authorization and caused damage.

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h. On or about July 2, 2021, defendant Yaroslav Vasinskyi and other
conspirators accessed the internal computer networks of Company C’s clients
without authorization.

i. On or about July 2, 2021, defendant Yaroslav Vasinskyi and other
conspirators deployed Sodinokibi ransomware on Company C’s clients thereby
encrypting Company C’s clients’ computers.

J. On or about July 2, 2021, defendant Yaroslav Vasinskyi and other
conspirators accessed the internal computer networks of Company D without
authorization and caused damage.

k. On or about July 2, 2021, defendant Yaroslav Vasinskyi and other
conspirators deployed Sodinokibi ransomware on Company D’s computers
thereby encrypting Company D’s computers.

l. On or about July 2, 2021, defendant Yaroslav Vasinskyi and other
conspirators accessed the internal computer networks of Company E without
authorization and caused damage.

m. On or about July 2, 2021, defendant Yaroslav Vasinskyi and other
conspirators deployed Sodinokibi ransomware on Company E’s computers thereby
encrypting Company E’s computers.

n. On or about July 2, 2021, defendant Yaroslav Vasinskyi and other
conspirators accessed the internal computer networks of Company F without

authorization and caused damage.

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oO. On or about July 2, 2021, defendant Yaroslav Vasinskyi and other
conspirators deployed Sodinokibi ransomware on Company F’s computers thereby
encrypting Company F’s computers.

p. On or about July 2, 2021, defendant Yaroslav Vasinskyi and other
conspirators accessed the internal computer networks of Company G without
authorization and caused damage.

q. On or about July 2, 2021, defendant Yaroslav Vasinskyi and other
conspirators accessed the internal computer networks of Company G’s clients
without authorization.

r. On or about July 2, 2021, defendant Yaroslav Vasinskyi and other
conspirators deployed Sodinokibi ransomware on Company G’s clients thereby
encrypting Company G’s clients’ computers.

S. On or about July 2, 2021, defendant Yaroslav Vasinskyi and other
conspirators accessed the internal computer networks of Company H without
authorization and caused damage.

t. On or about July 2, 2021, defendant Yaroslav Vasinskyi and other
conspirators accessed the internal computer networks of Company H’s clients
without authorization.

u. On or about July 2, 2021, defendant Yaroslav Vasinskyi and other
conspirators deployed Sodinokibi ransomware on Company H’s clients thereby

encrypting Company H’s clients’ computers.

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V. On or about July 2, 2021, defendant Yaroslav Vasinskyi and other
conspirators accessed the internal computer networks of Company I without
authorization and caused damage.

W. On or about July 2, 2021, defendant Yaroslav Vasinskyi and other
conspirators accessed the internal computer networks of Company I’s clients
without authorization.

X. On or about July 2, 2021, defendant Yaroslav Vasinskyi and other
conspirators deployed Sodinokibi ransomware on Company I’s clients thereby
encrypting Company I’s clients’ computers.

y. On or about July 2, 2021, defendant Yaroslav Vasinskyi and other
conspirators transmitted in interstate and foreign commerce a ransom demand of
approximately $700,000 in relation to the encryption of the computers of
Company I’s clients using Sodinokibi ransomware.

Z. On or about July 2, 2021, defendant Yaroslav Vasinskyi and other
conspirators accessed the internal computer networks of Company J without
authorization and caused damage.

aa. Onor about July 2, 2021, defendant Yaroslav Vasinskyi and other
conspirators accessed the internal computer networks of Company J’s clients

without authorization.

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bb. On or about July 2, 2021, defendant Yaroslav Vasinskyi and other
conspirators deployed Sodinokibi ransomware on Company J’s clients thereby

encrypting Company J’s clients’ computers.

All in violation of 18 U.S.C. § 371 (18 U.S.C. §§ 1030(a)(5)(A) and 1030(a)(7)(C)).

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Counts Two through Ten
Intentional Damage to a Protected Computer
[Violation of 18 U.S.C. §§ 1030(a)(5)(A), 1030(c)(4)(B), and 2]

32. Paragraphs | through 26 of this indictment are re-alleged and incorporated
by reference as though fully set forth herein.

33. | Onor about the dates set forth below, in the Northern District of Texas and
elsewhere, defendant Yaroslav Vasinskyi, who will be first brought to the Northern
District of Texas, and others known and unknown to the Grand Jury, did knowingly cause
the transmission of a program, information, code, and command and, as a result of such
conduct, intentionally caused damage, and attempted to cause damage, without
authorization, to a protected computer, and the offense caused loss to persons during a 1-
year period from the defendant’s course of conduct affecting protected computers
aggregating at least $5,000 in value, and caused damage affecting 10 or more protected
computers during a l-year period, described below for each count, each transmission

consisting a separate count:

Count Date(s) Victim
Two May 21, 2019 Company A
Three July 2, 2021 Company B
Four July 2, 2021 Company C
Five July 2, 2021 Company D
Six July 2, 2021 Company E
Seven July 2, 2021 Company F
Eight July 2, 2021 Company G

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Count Date(s) Victim
Nine July 2, 2021 Company H
Ten July 2, 2021 Company |

In violation of 18 U.S.C. §§ 1030(a)(5)(A), 1030(c)(4)(B), and 2.

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Conspiracy to Commit Money Laundering
[Violation of 18 U.S.C. §§ 1956(h), 1956(a)(2)(B)(i), and 1957]

Count Eleven
34. Paragraphs | through 26 of this indictment are re-alleged and incorporated
: by reference as though fully set forth herein.
:

35. From on or about March 1, 2019, through on or about August 11, 2021, in

the Northern District of Texas and elsewhere, defendant Yaroslav Vasinskyi did

knowingly combine, conspire, confederate, and agree with other persons known and

unknown to the Grand Jury,

a. to transport, transmit, and transfer, and attempt to transport, transmit, and

transfer a monetary instrument and funds from a place in the United States, to and
through a place outside the United States, knowing that the monetary instrument
and funds involved in the transportation, transmission, and transfer represent the
proceeds of a specified unlawful activity, namely, fraud and related activity in
connection with computers, in violation of 18 U.S.C. §§ 1030(a)(5)(A) and
1030(a)(7)(C), to conceal and disguise the nature, the location, the source, the

ownership, and the control of the proceeds of the specified unlawful activity, in

violation of 18 U.S.C. § 1956(a)(2)(B)(i); and

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b. to knowingly engage and attempt to engage in a monetary transaction
affecting interstate and foreign commerce in criminal derived property of a value
greater than $10,000, such property having been derived from a specified unlawful
activity, namely, fraud and related activity in connection with computers, in
violation of 18 U.S.C. §§ 1030(a)(5)(A) and 1030(a)(7)(C), in violation of 18
U.S.C. § 1957.

All in violation of 18 U.S.C. §§ 1956(h), 1956(a)(2)(B)(i), and 1957.

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Forfeiture Notice
[18 U.S.C. §§ 982(a)(2)(B), 1030(i), and 982(a)(1)]

36. Paragraphs | through 26 of this indictment are realleged and incorporated
by reference as though fully set forth herein.

37. | Upon conviction for any offense alleged in Counts One through Ten of this
indictment, defendant Yaroslav Vasinskyi shall forfeit to the United States of America
the following:

a. Pursuant to 18 U.S.C. § 982(a)(2)(B), any property constituting, or derived

from, proceeds obtained directly or indirectly, as the result of the respective

violation, including a forfeiture “money” judgment.

b. Pursuant to 18 U.S.C. § 1030(i)(1), any personal property that was used or

intended to be used to commit or to facilitate the commission of the respective

violation, and any property, real or personal, constituting or derived from, any
proceeds obtained, directly or indirectly, as a result of the respective violation,
including a forfeiture “money” judgment.

38. | Upon conviction for the offense alleged in Count Eleven of this indictment,
defendant Yaroslav Vasinskyi shall forfeit to the United States of America, pursuant to

18 U.S.C. § 982(a)(1), any property, real or personal, involved in the offense, and any
property traceable to that property, including a forfeiture “money” judgment.

39. Further, if any of the property described above, as a result of any act or
omission of the defendant, cannot be located upon the exercise of due diligence; has been
transferred or sold to, or deposited with, a third party; has been placed beyond the

jurisdiction of the court; has been substantially diminished in value; or has been

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commingled with other property which cannot be divided without difficulty, the United
States of America shall be entitled to forfeiture of substitute property pursuant to 21
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U.S.C. § 853(p), as incorporated by 18 U.S.C. § 982(b)(1) and 28 U.S.C. § 2461(c).

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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF TEXAS
DALLAS DIVISION

THE UNITED STATES OF AMERICA

YAROSLAV VASINSKYI

SEALED INDICTMENT

18 U.S.C. §§ 371 (18 U.S.C. §§ 1030(a)(5)(A) and 1030(a)(7)(C)
Conspiracy to Commit Fraud and Related Activity in Connection with Computers
(Count 1)

18 U.S.C. §§ 1030(a)(5)(A) and (c)(4)(B), and 2
Intentional Damage to a Protected Computer
(Counts 2, 3, 4, 5, 6, 7, 8, 9, and 10)

18 U.S.C. §§ 1956(h), 1956(a)(2)(B)(i), and 1957
Conspiracy to Commit Money Laundering
(Count 11)

18 U.S.C. §§ 982(a)(2)(B), 1030(i), and 982(a)(1)
Forfeiture Notice

11 Counts

A true bill rendered YehhE.

FORT WORTH . FOREPERSON
Filed in open court this } {tay of August, 2021.

Warrant to be Issued

Lal L. Lore

UNITED STATES MAGISTRATE JUDGE
No Criminal Matter Pending

